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 5   Pro Bono Counsel Referred via the
     Legal Aid Center of Southern Nevada
 6   for Plaintiff GREGORY MAY
 7                         UNITED STATES DISTRICT COURT
 8
                                  DISTRICT OF NEVADA
 9
                                             ***
10   GREGORY MAY,                              )
11                                             )   Case No.: 2:19-cv-00161-RFB-VCF
                                  Plaintiff,   )
12                                             )
           v.                                  )
13                                             )
14   SCOTT MATTINSON, in his individual        )   STIPULATION AND ORDER TO
     and official capacities;                  )   SUBSTITUTE DEFENDANT
15   THERESA WICKHAM, in her individual )          WILLIAM A. GITTERE IN
     and official capacities;                  )   PLACE OF DEFENDANT
16   MARTIN NAUGHTON, M.D., in his             )   SCOTT MATTINSON
17   individual and official capacities;       )
     BRIAN WILLIAMS, in his individual         )
18   and official capacities;                  )
     JENNIFER NASH, in her individual and )
19   official capacities;                      )
20   CASEWORKER HAMMELL, in his/her            )
     individual and official capacities;       )
21   MONIQUE HUBBARD-PICKETT, in               )
     her individual and official capacities;   )
22
     THOMAS HINCKLE, in his individual         )
23   capacity;                                 )
     C/OT A. RODRIGUEZ also known as           )
24   AMANDA ARIAS, in her individual           )
     capacity;                                 )
25
     TIMOTHY HULSEY, in his/her                )
26   individual capacity;                      )
     COREY ROWLEY, in his individual           )
27   capacity;                                 )
     CHRISTOPHER MILLER, in his                )
28
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     individual capacity;                         )
 1
     STEFFEN MOSKOFF, in his individual           )
 2   capacity;                                    )
     DAMIEN ROBINS, in his individual             )
 3   capacity,                                    )
                                                  )
 4
                                Defendants.       )
 5
           Plaintiff Gregory May, by and through his counsel, Angela H. Dows, Esq.,
 6

 7   and Defendants Scott Mattinson, Stephen Moskoff, Jennifer Nash, Martin

 8   Naughton, Corey Rowley, Theresa Wickham, and Brian Williams, by and through

 9   counsel, Aaron D. Ford, Nevada Attorney General, and Alexander J. Smith, Deputy
10
     Attorney General, of the State of Nevada, Office of the Attorney General, hereby
11
     submit their Stipulation and Order to substitute in Defendant William A. Gittere in
12

13   the place and stead of Defendant Scott Mattinson pursuant to Fed. R. Civ. P. 17 and

14   Fed. R. Civ. P. 25.

15         Dated this 8th day of January, 2021.
16
                                              Respectfully submitted,
17                                             /s/ Angela H. Dows
                                              ANGELA H. DOWS, ESQ.
18                                            1333 N. Buffalo Drive, Suite 210
19                                            Las Vegas, Nevada 89128
                                              Pro Bono Counsel Referred via the
                                              Legal Aid Center of Southern Nevada
20                                            for Plaintiff GREGORY MAY
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 1
     I.    APPLICABLE LAW
 2
           Fed. R. Civ. P. 17(a)(3) provides:
 3
           (3) Joinder of the Real Party in Interest. The court may not dismiss an
 4
           action for failure to prosecute in the name of the real party in interest
 5         until, after an objection, a reasonable time has been allowed for the
           real party in interest to ratify, join, or be substituted into the action.
 6         After ratification, joinder, or substitution, the action proceeds as if it
           had been originally commenced by the real party in interest.
 7

 8         Additionally, Fed. R. Civ. P. 25 provides, in relevant part:

 9         (a) DEATH.
           (1) Substitution if the Claim Is Not Extinguished. If a party dies and
10
           the claim is not extinguished, the court may order substitution of the
11         proper party. A motion for substitution may be made by any party or
           by the decedent's successor or representative. If the motion is not made
12         within 90 days after service of a statement noting the death, the action
           by or against the decedent must be dismissed.
13
           (2) Continuation Among the Remaining Parties. After a party's death,
14         if the right sought to be enforced survives only to or against the
           remaining parties, the action does not abate, but proceeds in favor of or
15         against the remaining parties. The death should be noted on the
           record.
16
           (3) Service. A motion to substitute, together with a notice of hearing,
17         must be served on the parties as provided in Rule 5 and on nonparties
           as provided in Rule 4. A statement noting death must be served in the
18         same manner. Service may be made in any judicial district.
           …
19
           (d) PUBLIC OFFICERS; DEATH OR SEPARATION FROM OFFICE. An action
20         does not abate when a public officer who is a party in an official
21         capacity dies, resigns, or otherwise ceases to hold office while the
           action is pending. The officer's successor is automatically substituted
22         as a party. Later proceedings should be in the substituted party's
           name, but any misnomer not affecting the parties’ substantial rights
23         must be disregarded. The court may order substitution at any time,
24         but the absence of such an order does not affect the substitution.

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     II.   STIPULATION
 1

 2         The parties submit that Defendant William A. Gittere be substituted in the

 3   place and stead of Defendant Scott Mattinson in the subject action. This is based
 4
     upon the following:
 5
           a.    On October 14, 2020, Plaintiff received notice from Defendants’
 6
                 counsel via electronic correspondence that Defendant Scott Mattinson
 7

 8               had passed away in 2020.

 9         b.    Pursuant to Fed. R. Civ. P. 25, the instant stipulation is being
10
                 commenced within ninety (90) days of said informal notice of death.
11
           c.    That Plaintiff also desires to have the warden of the Ely State Prison
12
                 included as a Defendant in the matter as a real party in interest, to
13

14               wit a person named William A. Gittere.

15         d.    That the parties have agreed in exchange for a dismissal of claims
16
                 that Plaintiff may have against the deceased Defendant Scott
17
                 Mattinson, including any claims that the Plaintiff may have against
18
                 the estate of Scott Mattinson, if any, that:
19

20               1. Defendant Scott Mattinson would be dismissed from the case, and

21               2. Defendant William A. Gittere would be added to the case.
22
           e.    Plaintiff Gregory May has been advised of the stipulation, and assents
23
                 to the same.
24
           f.    Thus, the parties agree that:
25

26               1. The operative complaint in this action shall be deemed amended to

27                   exclude Defendant Scott Mattinson, and add Defendant William A.
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                                                 4
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                     Gittere.
 1

 2                2. The operative Answer in this action shall be deemed to be the

 3                   answer on behalf of said added Defendant William A. Gittere, in
 4
                     addition to the Defendants represented in the Answer (See ECF
 5
                     No. 59.)
 6
                  3. The caption in this matter shall be changed to remove Defendant
 7

 8                   Scott Mattinson as the first party Defendant and substitute

 9                   William A. Gittere as the first party Defendant, such that it reads
10
                     “Gregory May v. William A. Gittere, et al., Defendants.”
11
                  4. No other changes to the other named Defendants are contemplated
12
                     via the instant stipulation.
13

14   DATED: January 8, 2021                         DATED: January 8, 2021

15   /s/ Angela H. Dows                             /s/ Alexander J. Smith
     ANGELA H. DOWS, ESQ.                           ALEXANDER J. SMITH, ESQ.
16
     CORY READE DOWS & SHAFER                       Deputy Attorney General
17   1333 North Buffalo Drive, Suite 210            Office of the Nevada Attorney General
     Las Vegas, Nevada 89128                        555 E. Washington Avenue, Suite 3900
18   Attorney for Plaintiff                         Las Vegas, Nevada 89101
                                                    Attorneys for Defendants
19

20

21         IT IS SO ORDERED.

22                    11th
           DATED this ____ day of January, 2021.
23

24

25

26                                          __________________________________
                                            UNITED STATES MAGISTRATE JUDGE
27

28

                                               5
